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				COLE v. STATE2021 OK CR 32Case Number: PCD-2020-529Decided: 10/08/2021BENJAMIN ROBERT COLE, SR., Petitioner v. THE STATE OF OKLAHOMA, Respondent
Cite as: 2021 OK CR 32, __  __

				

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CORRECTION ORDER


¶1 The following correction is made to the Opinion Denying Post-Conviction Relief and Denying Motion to Stay Proceedings in the above styled and numbered cause, Cole v. State, 2021 OK CR 28, __P.3d __, opinion for publication, October 7, 2021.

¶2 On page 1 of the opinion, below the title, the authoring Judge's name is absent.

¶3 This should be corrected to read as follows:

LUMPKIN, JUDGE:

¶4 IT IS SO ORDERED.

¶5 WITNESS MY HAND AND THE SEAL OF THIS COURT this 8th day of October, 2021.


/S/SCOTT ROWLAND, Presiding Judge


ATTEST:
/s/John D. Hadden
Clerk


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	Citationizer© Summary of Documents Citing This Document
	
	
		
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	Oklahoma Court of Criminal Appeals Cases
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&nbsp;2021 OK CR 28, COLE v. STATECited


	
	








				
					
					
				

		
		




	
		
			
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